







Affirmed and Opinion filed November 25, 2003
















Affirmed and
Opinion filed November 25, 2003.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

_______________

&nbsp;

NO. 14-03-00507-CV

_______________

&nbsp;

In the
Interest of J.R., 

a Minor Child

_________________________________________________

&nbsp;

On Appeal from
the 300th District Court

Brazoria County, Texas

Trial Court
Cause No. 14827*RH01

_________________________________________________

&nbsp;

O P I N I O N

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In this termination of parental
rights action,[1] the
minor child’s natural father (the “father”)[2] appeals
the trial court’s granting of Texas Department of Protective and Regulatory Services’s (“TDPRS”) plea to the jurisdiction on the ground
that the order previously granting summary judgment in his favor (the “order”)
was not a final judgment because it did not dispose of: (1) his requests for
relief under sections 10.001[3] and
105.002[4] of
the Texas Civil Practice and Remedies Code (“CPRC”); (2) both parties’ requests
for attorney’s fees;[5]
(3)&nbsp; the costs of court; or (4) TDPRS’s alternative request to be appointed sole managing
conservator.&nbsp; We affirm.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Standard
of Review

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Whether a trial court has
subject-matter jurisdiction is a legal question that is reviewed de novo. &nbsp;State ex rel. State Dep't of Highways &amp; Pub. Transp.
v. Gonzalez, 82 S.W.3d 322, 327 (Tex.
2002).&nbsp; With exceptions not applicable
here, a trial court has plenary power for&nbsp;
thirty days after signing a final judgment.&nbsp; Tex.
R. Civ. P. 329b(d); Lane Bank Equip. Co. v. Smith S. Equip., Inc. 10 S.W.3d 308, 310
(Tex.
2000).&nbsp; A judgment that finally disposes
of all remaining parties and claims, based on the record in the case, is final,
regardless of its language.&nbsp; Lehmann v. Har-Con Corp.,
39 S.W.3d 191, 200 (Tex. 2001).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; CPRC Claims

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A judgment does not have to resolve
pending sanctions issues to be final, and sanctions may not be imposed after
the expiration of a trial court’s plenary jurisdiction. &nbsp;Lane Bank, 10 S.W.3d at 311-12;[6] Scott &amp; White Mem’l
Hosp. v. Schexnider, 940 S.W.2d 594, 596 (Tex.
1996).&nbsp; In this case, the father’s claims
against TDPRS under the CPRC were based on allegations that the termination
action was frivolous and without evidentiary support based on reasonable
inquiry.&nbsp; Because the relief thereby
sought was in the nature of sanctions, these claims did not have to be disposed
of in order for the order to become final.

Attorney’s Fees and Costs

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A trial court’s failure to assess
costs also does not affect the finality of its judgment.[7]&nbsp; Because the attorney’s fees, if any, awarded
in a suit affecting the parent-child relationship are awarded as costs,[8] the
parties’ claims for such attorney’s fees and other costs in this case did not
have to be disposed of in order for the order to become final.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; TDPRS’s Alternative Request to be Appointed Sole Managing Conservator

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In its petition, TDPRS requested
that: (1) the parent-child relationship between the father and the child be
terminated and that it be appointed managing conservator of the child; or (2)
if the parent-child relationship was not terminated, that it be appointed sole
managing conservator of the child.&nbsp; The
father’s motion for summary judgment asserted that there was no evidence to
show any ground for termination of his parental rights or for TDPRS to be
appointed managing conservator.&nbsp; The
order, submitted by the father, plainly reflects that the father’s motion for
summary judgment was granted in its entirety.&nbsp;
It ordered not only that the petition to terminate the father’s parental
rights be denied, but also that upon the father’s taking possession of the
minor child, (1) the father would have all of the exclusive rights and duties
of a parent with respect to the minor child, including an exclusive and
unrestricted right to establish the residence of the child; and (2) the rights,
duties, and appointment of TDPRS as temporary managing conservator were
terminated.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; By granting the father’s motion for
summary judgment, the trial court ruled that there was no evidence to support TDPRS’s alternative request to be appointed managing
conservator if the father’s parental rights were not terminated.&nbsp; The order thereby disposed of the alternative
request.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In addition, because it returned the
child to the father, the order was a “final order” for purposes of cases
concerning children under TDPRS care.[9]&nbsp; In enacting statutes that limit the time in
which such cases may be decided[10] and
appealed,[11] the
Legislature has expressed a clear intent to “ensure finality in these cases and
expedite their resolution,”[12]
which is, in turn, compelled by both the fundamental liberty interest a parent
has in the care, custody, and control of his or her children and the State’s
foremost interest in protecting the best interest of the child.[13]&nbsp; In this context, the father has not cited
any: (1) authority whereby TDPRS’s request to be
appointed managing conservator in this case could be considered unresolved; or
(2) rationale that would support allowing the determination reflected in the
order, and, thus, the child’s and father’s lives, to be left “in limbo”[14]
indefinitely and potentially beyond the periods in which the Legislature has
mandated that such matters be concluded.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Based on the foregoing, we conclude
that the order was final and, thus, that the trial court did not err in
granting TDPRS’s plea to the jurisdiction.&nbsp; Accordingly, the father’s sole point of error
is overruled, and the judgment of the trial court is affirmed.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; /s/&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Richard H. Edelman

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice

&nbsp;

Judgment rendered and Opinion filed
November 25, 2003.

Panel consists of Justices Hudson,
Edelman, and Guzman.

&nbsp;

&nbsp;











[1]&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; TDPRS filed suit to terminate the father’s parental
rights or, in the alternative, to be appointed sole managing conservator of the
minor child.





[2]&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; See Tex.
Fam. Code Ann. § 109.002(d) (Vernon 2002) (in a suit affecting the
parent-child relationship, an appellate court opinion may identify the parties
by fictitious names or their initials).





[3]&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; See
Tex. Civ. Prac. &amp; Rem. Code Ann. § 10.004(c)(3) (Vernon 2002) (a trial court may
impose, as a sanction for violating section 10.001, the reasonable expenses
incurred by the other party because of the filing of an unsupported pleading or
motion); id. § 10.001(3) (the signing
of a pleading or motion constitutes a certificate that to the signatory’s best
knowledge, formed after a reasonable inquiry, each allegation in the pleading
or motion has, or is likely to have after a reasonable opportunity for further
investigation or discovery, evidentiary support).





[4]&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; See Tex. Civ. Prac.
&amp; Rem. Code Ann. § 105.002 (Vernon 1997)
(where a state agency asserts a cause of action against a party in a civil suit
in state court, the party may recover, in addition to other costs allowed by
law, fees, expenses, and reasonable attorney’s fees incurred by the party in
defending the agency’s action if: (1) the court finds that the agency’s action
is frivolous, unreasonable, or without foundation; and (2) the action is
dismissed or judgment is awarded to the party).





[5]&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; See Tex. Fam. Code Ann. § 106.002(a)
(Vernon Supp. 2004) (in a suit affecting parent-child relationship, a trial
court may order reasonable attorney’s fees as costs).





[6]&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Despite the holding in Lane Bank, this court held in Mattly that an undisposed claim for Rule 13 sanctions was a request for
affirmative relief that prevented an order granting a nonsuit
on the remaining claims from becoming a final judgment.&nbsp; See Mattly v. Spiegel,
19 S.W.3d 890, 894 (Tex. App.—Houston [14th Dist.] 2000, no
pet.).&nbsp; Like the First Court of Appeals,
we are unable to reconcile the holdings of Mattly and Lane Bank.&nbsp; See In re T.G., 68 S.W.3d 171, 179 (Tex. App.—Houston [1st Dist.] 2002,
pet. denied).&nbsp; Under these circumstances,
we have no authority to depart from the decision of the Texas Supreme Court in Lane Bank.&nbsp; See,
e.g., Lubbock County, Texas v.
Trammel’s Lubbock Bail Bonds, 80 S.W.3d 580, 585 (Tex. 2002) (explaining
that, once the Supreme Court announces a proposition of law, the decision is
considered binding precedent, and it is not the function of a court of appeals
to abrogate or modify such established precedent).





[7]&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; See Thompson v. Beyer, 91 S.W.3d 902, 904-905 (Tex. App.—Dallas 2002, no pet.)
(citing City of West Lake Hills v. State,
466 S.W.2d 722, 727 (Tex. 1971)).





[8]&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; See Tex. Fam. Code Ann.
§ 106.002(a).





[9]&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; See
Tex. Fam. Code Ann. § 263.401(d) (Vernon 2002) (defining such a
“final order” as one that either: (1) requires the child to be returned to the
parent; (2) names a relative or other person managing conservator; (3) without
terminating the parent-child relationship, appoints TDPRS managing conservator;
or (4) terminates the parent-child relationship and appoints a relative, other
person, or TDPRS managing conservator).





[10]&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; See id. §
263.401(a)-(c).





[11]&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; See id. § 109.002(a) (an appeal in
a termination suit shall be given precedence over other civil cases and shall
be subject to the procedures for an accelerated appeal).





[12]&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In re
B.L.D., 113 S.W.3d 340, 353 (Tex. 2003).





[13]&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; See id. at
352-53.





[14]&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; See id. at 353.







